Case 3:16-cv-03059-BAS-AGS Document 338 Filed 08/17/20 PageID.29686 Page 1 of 2




                         United States District Court
                             SOUTHERN DISTRICT OF CALIFORNIA


Quidel Corporation, a Delaware
corporation                                                  Civil Action No. 16-cv-3059-BAS-AGS

                                              Plaintiff,
                                       V.
(See attachment)                                              JUDGMENT IN A CIVIL CASE


                                            Defendant.


Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
or heard and a decision has been rendered.

IT IS HEREBY ORDERED AND ADJUDGED:
First, Quidel’s Motion for Summary Judgment is DENIED. (ECF No. 301.) Second, Quidel has not
produced any evidence that is has suffered damages due to physicians as a result of Siemens’ allegedly
false advertising. Quidel is not entitled to a presumption of injury and Quidel has not met elements for
a permanent injunction. Accordingly, Siemens’ Motion for Summary Judgment is GRANTED. (ECF
No. 306.) Because injury is required for all of Quidel’s claims, this concludes the case.

The case is hereby closed.




Date:          8/17/20                                          CLERK OF COURT
                                                                JOHN MORRILL, Clerk of Court
                                                                By: s/ J. Olsen
                                                                                        J. Olsen, Deputy
     Case 3:16-cv-03059-BAS-AGS Document 338 Filed 08/17/20 PageID.29687 Page 2 of 2

                          United States District Court
                               SOUTHERN DISTRICT OF CALIFORNIA

                                            (ATTACHMENT)

                                                                  Civil Action No. 16-cv-3059-BAS-AGS



Defendant(s):

Siemens Healthcare Diagnostics, Inc., a California corporation;
Does 1-50

Counter Claimant:

Siemens Medical Solutions USA, Inc., a Delaware corporation;

Siemens Healthcare Diagnostics, Inc., a California corporation

v.

Counter Defendant:

Quidel Corporation, a Delaware corporation;

Counter Claimant:
Siemens Medical Solutions USA, Inc., a Delaware corporation;

Siemens Healthcare Diagnostics, Inc., California corporation;

v.

Counter Defendant:

Quidel Corporation,a Delaware corporation
